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                                                                     8:23-bk-10556 - Jeffrey S Beier

                                                                                                                          Docket Header Last Updated: 5/10/2023 1:32 pm

                                                                                                                    Incomplete, Repeat-cacb, DISMISSED, CLOSED


                                                                            U.S. Bankruptcy Court
                                                                Central District of California (Santa Ana)
                                                                Bankruptcy Petition #: 8:23-bk-10556-TA
                                                                                                                                          Date filed: 03/17/2023
     Assigned to: Theodor Albert                                                                                                 Date terminated: 04/07/2023
     Chapter 7                                                                                                                  Debtor dismissed: 04/04/2023
     Voluntary                                                                                                                 341 meeting: 04/27/2023
     No asset                                                                                            Deadline for objecting to discharge: 06/26/2023
                                                                                                        Deadline for financial mgmt. course: 06/26/2023

     Debtor disposition: Dismissed for Failure to File Information

     Debtor                                                                                          represented by Anerio V Altman
     Jeffrey S Beier                                                                                                     Lake Forest Bankruptcy II APC
     10 Tuscon                                                                                                           PO Box 515381
     Trabuco Canyon, CA 92679                                                                                            Los Angeles, CA 90051-6681
     ORANGE-CA                                                                                                           949-218-2002
                                                                                                                         Fax : 949-218-2002



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     SSN / ITIN: xxx-xx-0875                                                                                                                Email: LakeForestBankruptcy@jubileebk.net


     Trustee
     Weneta M.A. Kosmala (TR)
     c/o Law Offices of Weneta M.A. Kosmala
     4425 Jamboree Rd., Suite 183
     Newport Beach, CA 92660
     (714) 708-8190


     U.S. Trustee
     United States Trustee (SA)
     411 W Fourth St., Suite 7160
     Santa Ana, CA 92701-4593
     (714) 338-3400



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     03/17/2023            1     Chapter 7 Voluntary Petition for Individuals . Fee Amount $338 Filed by Jeffrey S Beier (Altman, Anerio)See docket entry no 6 for correction. Case deficient re Summary of
                                 Assets and Liabilities (Form 106Sum or 206Sum ) due 3/31/2023. Schedule C: The Property You Claim as Exempt (Form 106C) due 3/31/2023. Schedule E/F: Creditors Who
                                 Have Unsecured Claims (Form 106E/F or 206E/F) due 3/31/2023. Schedule G: Executory Contracts and Unexpired Leases (Form 106G or 206G) due 3/31/2023. Schedule H:
                                 Your Codebtors (Form 106H or 206H) due 3/31/2023. Schedule I: Your Income (Form 106I) due 3/31/2023. Schedule J: Your Expenses (Form 106J) due 3/31/2023. Statement of
                                 Financial Affairs (Form 107 or 207) due 3/31/2023. Chapter 7 Statement of Your Current Monthly Income (Form 122A-1) Due: 3/31/2023. Statement of Exemption from
                                 Presumption of Abuse (Form 122A-1Supp) Due: 3/31/2023. Chapter 7 Means Test Calculation (Form 122A-2) Due: 3/31/2023.Statement of Related Cases (LBR Form F1015-2)
                                 due 3/31/2023. Attorney Disclosure of Compensation Arrangement in Individual Chapter 7 Case (LBR Form F2090-1) due 3/31/2023. Declaration by Debtors as to Whether
                                 Income was Received from an Employer within 60-Days of the Petition Date (LBR Form F1002-1) due by 3/31/2023. Incomplete Filings due by 3/31/2023. Modified on
                                 3/20/2023 (VN). (Entered: 03/17/2023)


     03/17/2023            2     Statement About Your Social Security Number (Official Form 121) Filed by Debtor Jeffrey S Beier. (Altman, Anerio) (Entered: 03/17/2023)


     03/17/2023            3     Certificate of Credit Counseling Filed by Debtor Jeffrey S Beier. (Altman, Anerio) (Entered: 03/17/2023)




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     03/17/2023            4     Meeting of Creditors with 341(a) meeting to be held on 4/27/2023 at 09:00 AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT THE TRUSTEE. for Debtor
                                 and Joint Debtor (if joint case) Cert. of Financial Management due by 6/26/2023. Last day to oppose discharge or dischargeability is 6/26/2023. (Scheduled Automatic
                                 Assignment, shared account) (Entered: 03/17/2023)


     03/17/2023                  Set Case Commencement Deficiency Deadlines (def/deforco) (RE: related document(s)1 Voluntary Petition (Chapter 7) filed by Debtor Jeffrey S Beier) Summary of Assets and
                                 Liabilities (Form 106Sum or 206Sum ) due 3/31/2023. Schedule C: The Property You Claim as Exempt (Form 106C) due 3/31/2023. Schedule E/F: Creditors Who Have
                                 Unsecured Claims (Form 106E/F or 206E/F) due 3/31/2023. Schedule G: Executory Contracts and Unexpired Leases (Form 106G or 206G) due 3/31/2023. Schedule H: Your
                                 Codebtors (Form 106H or 206H) due 3/31/2023. Schedule I: Your Income (Form 106I) due 3/31/2023. Schedule J: Your Expenses (Form 106J) due 3/31/2023. Statement of
                                 Financial Affairs (Form 107 or 207) due 3/31/2023. Chapter 7 Statement of Your Current Monthly Income (Form 122A-1) Due: 3/31/2023. Statement of Exemption from
                                 Presumption of Abuse (Form 122A-1Supp) Due: 3/31/2023. Chapter 7 Means Test Calculation (Form 122A-2) Due: 3/31/2023. Incomplete Filings due by 3/31/2023. (VN)
                                 (Entered: 03/20/2023)


     03/17/2023                  Set Case Commencement Deficiency Deadlines (ccdn) (RE: related document(s)1 Voluntary Petition (Chapter 7) filed by Debtor Jeffrey S Beier) Statement of Related Cases (LBR
                                 Form F1015-2) due 3/31/2023. Attorney Disclosure of Compensation Arrangement in Individual Chapter 7 Case (LBR Form F2090-1) due 3/31/2023. Declaration by Debtors as
                                 to Whether Income was Received from an Employer within 60-Days of the Petition Date (LBR Form F1002-1) due by 3/31/2023. (VN) (Entered: 03/20/2023)


     03/19/2023                  Receipt of Voluntary Petition (Chapter 7)( 8:23-bk-10556) [misc,volp7] ( 338.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount 338.00. (re: Doc# 1) (U.S. Treasury)
                                 (Entered: 03/19/2023)


     03/19/2023            5     BNC Certificate of Notice (RE: related document(s)4 Meeting (AutoAssign Chapter 7)) No. of Notices: 1. Notice Date 03/19/2023. (Admin.) (Entered: 03/19/2023)


     03/20/2023                  Notice of Debtor's Prior Filings for debtor Jeffrey S Beier Case Number 08-12163, Chapter 7 filed in California Central Bankruptcy on 04/25/2008 , Standard Discharge on
                                 08/21/2008; Case Number 09-11124, Chapter 13 filed in California Central Bankruptcy on 02/11/2009 , Dismissed for Other Reason on 10/01/2009; Case Number 10-19081,
                                 Chapter 7 filed in California Central Bankruptcy on 07/01/2010 , Dismissed for Other Reason on 03/10/2011.(Admin) (Entered: 03/20/2023)


     03/20/2023            6     Notice to Filer of Error and/or Deficient Document Petition was filed as complete, but schedules or statements are deficient. THE FILER IS INSTRUCTED TO FILE THE
                                 DEFICIENT DOCUMENTS. (RE: related document(s)1 Voluntary Petition (Chapter 7) filed by Debtor Jeffrey S Beier) (VN) (Entered: 03/20/2023)


     03/20/2023            7     Case Commencement Deficiency Notice (BNC) (RE: related document(s)1 Voluntary Petition (Chapter 7) filed by Debtor Jeffrey S Beier) (VN) (Entered: 03/20/2023)


     03/20/2023            8     ORDER to comply with bankruptcy rule 1007/3015(b) and notice of intent to dismiss case (BNC) (RE: related document(s)1 Voluntary Petition (Chapter 7) filed by Debtor Jeffrey
                                 S Beier) (VN) (Entered: 03/20/2023)


     03/22/2023            9     BNC Certificate of Notice (RE: related document(s)7 Case Commencement Deficiency Notice (BNC)) No. of Notices: 1. Notice Date 03/22/2023. (Admin.) (Entered: 03/22/2023)




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     03/22/2023           10     BNC Certificate of Notice (RE: related document(s)8 ORDER to comply with bankruptcy rule 1007/3015(b) and notice of intent to dismiss case (Ch 7/13) (BNC)) No. of Notices: 1.
                                 Notice Date 03/22/2023. (Admin.) (Entered: 03/22/2023)


     04/04/2023           11     Order and Notice of Dismissal for Failure to File Schedules, Statements, and/or Plan - DEBTOR Dismissed (BNC) (SM2 ) (Entered: 04/04/2023)



     04/06/2023                  Chapter 7 Trustee's Report of No Distribution: I, Weneta M.A. Kosmala (TR), having been appointed trustee of the estate of the above-named debtor(s), report that this case was
                                 dismissed or converted. I have neither received any property nor paid any monies on account of this estate. I hereby certify that the chapter 7 estate of the above-named
                                 debtor(s) has been fully administered through the date of conversion or dismissal. I request that I be discharged from any further duties as trustee. Key information about this
                                 case as reported in schedules filed by the debtor(s) or otherwise found in the case record: This case was pending for 0 months. Assets Abandoned (without deducting any
                                 secured claims): Not Applicable, Assets Exempt: Not Applicable, Claims Scheduled: Not Applicable, Claims Asserted: Not Applicable, Claims scheduled to be discharged
                                 without payment (without deducting the value of collateral or debts excepted from discharge): Not Applicable. Filed by Trustee Weneta M.A. Kosmala (TR) (RE: related
                                 document(s)4 Meeting of Creditors with 341(a) meeting to be held on 4/27/2023 at 09:00 AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT THE TRUSTEE.
                                 for Debtor and Joint Debtor (if joint case) Cert. of Financial Management due by 6/26/2023. Last day to oppose discharge or dischargeability is 6/26/2023. (Scheduled Automatic
                                 Assignment, shared account)). (Kosmala (TR), Weneta) (Entered: 04/06/2023)


     04/06/2023           12     BNC Certificate of Notice (RE: related document(s)11 ORDER and notice of dismissal for failure to file schedules, statements, and/or plan (CACB AutoDismiss) (BNC)) No. of
                                 Notices: 1. Notice Date 04/06/2023. (Admin.) (Entered: 04/06/2023)


     04/07/2023           13     Bankruptcy Case Closed - DISMISSED. Order of Dismissal in the above referenced case was entered and notice was provided to parties in interest. Since it appears that no
                                 further matters are required that this case remain open, or that the jurisdiction of this Court continue, it is ordered that the Trustee is discharged, bond is exonerated, and the case
                                 is closed. (Auto Closed) (SM2 ) - (Entered: 04/07/2023)




https://v2.courtdrive.com/cases/pacer/cacbke/8:23-bk-10556/dockets                                                                                                                   Exhibit 8                              4/4
